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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,
                                                                   No. CR 18-2558-MV

ARTHUR PERRAULT,

               Defendant.

                                     ORDER DENYING
                                MOTION TO CONTINUE TRIAL

       THIS MATTER comes before the Court on the Defendant’s Opposed Motion for Leave

to File Motion to Continue April 1, 2019, Trial Setting and February 25, 2019 Motions Deadline.

The Court having reviewed the Motion (Doc. 78), the attached proposed Opposed Motion to

Continue (Doc. 78-1), and the United States’ Combined Response (Doc. 80), finds that good

cause has not been shown and hereby GRANTS the Motion for Leave to File Motion to

Continue (Doc. 78) and DENIES the Opposed Motion to Continue (Doc. 78-1), for the

following reasons:

       1.      Defense counsel does not identify any reason for his failure to submit a Motion to

Continue by the Court-imposed deadline, only apologizes for failing to comply with the

deadline.

       2.      Defense counsel states that the government emailed him and advised that

additional discovery would be available on February 22nd, that he picked up the discovery on

February 23rd and has not had time to review the discovery with the defendant or conduct an

investigation to address any possible motions. The Government responded that the discovery

produced was only 50 pages. Although the defense Motion was filed on March 1st, after having
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at least five days to review the discovery, defense counsel does not give any further explanation

of what further investigation is necessary or what possible motions might be filed.

       3.      Defense counsel states that he intends to introduce the testimony of FBI Agent

Leroy Chavez and that additional time is necessary to subpoena Agent Chavez since the United

States has indicated that they will not call him as a witness at trial and the United States has

advised him to “begin the Toughy (sic) process.” Defense counsel does not give any further

explanation of how long it will take to subpoena Agent Chavez or what the United States

requires for the “Toughy” (sic) process.

       4.      Defense counsel states that he was advised by the United States’ on February 25,

2019, that they intend to introduce a hand-written letter by an alleged victim, and that he intends

to retain the services of a hand-writing expert. The Government responded that the actual letter

was disclosed on January 11, 2019, and that defense counsel knew that the alleged victim would

be a possible trial witness in November, 2018. Defense counsel does not give any further

explanation of why he needs a hand-writing expert or what the proposed expert would be

examining or comparing.

       5.      Defense counsel states that his proposed expert, Dr. Mark Chambers, will not be

available to testify during the week of April 1, 2019. The Court notes that the Notice of Trial in

this matter was filed on February 8, 2019, and the filing of the Motion to Continue on March 1st,

is the first notification that the Court has received of a conflict. Additionally, the case is

currently scheduled for a three-week trial, and Defendant’s case would not likely start until at

least the week of April 8, 2019.

       FOR THE FOREGOING REASONS, the Court finds that there is insufficient cause in

the Motion to comply with United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009), which
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addresses the ends-of-justice exception to the Speedy Trial Act, that Motions to Continue “ must

contain an explanation of why the mere occurrence of the event identified by the party as

necessitating the continuance results in the need for additional time.”

       IT IS THEREFORE ORDERED that the Defendant’s Motion to Continue [Doc. 78-1] is

DENIED. The Defendant is further ordered to check with his expert witness, Dr. Mark

Chambers, and provide dates of availability for the expert’s testimony during the week of

April 8, 2019.

       Dated this 5th day of March, 2019.

                                                    _______________________________
                                                    MARTHA VÁZQUEZ
                                                    United States District Judge
